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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                   Southern District
                                                 __________ Districtof
                                                                     ofIndiana
                                                                        __________

                  United States of America
                             v.
                                                                   )
                                                                   )
                                                                                                           6($/('
                                                                   )      Case No.
                                                                   )                 1:21-mj-0282
                     JORDAN FIELDS,                                )
                                                                   )
                                                                   )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of See below in "Offense Description" in the county of                        Bartholomew          in the
     Southern          District of            Indiana          , the defendant(s) violated:

            Code Section                                                    Offense Description
Counts 1-3: 18 U.S.C. § 2251(a)                 Sexual Exploitation/Attempt Sexual Exploitation of a Child
and (e)                                         (on or between March 1, 2020 and July 29, 2020)

Count 4: 18 U.S.C. § 2252(a)(2)                 Distribution and Receipt of Child Pornography
                                                (on or between March 1, 2020 and November 13, 2020)




         This criminal complaint is based on these facts:
See Attached Affidavit.




         ✔ Continued on the attached sheet.
         u

                                                                                               s/ Todd D. Prewitt
                                                                                              Complainant’s signature

                                                                                          Todd D. Prewitt, SA FBI
                                                                                               Printed name and title

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Date:         3/24/2021
                                                                                                 Judge’s signature

City and state:                         Indianapolis, IN                           Paul R. Cherry, U.S. Magistrate Judge
                                                                                               Printed name and title
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               AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


      I, Special Agent Todd D. Prewitt, having been duly sworn, hereby depose and

state as follows:

      1.     I am employed as a Special Agent of the FBI, and I am currently

assigned to the Bloomington Resident Agency of the Indianapolis FBI. I have been

employed by the FBI since 2001. While employed by the FBI, I have investigated

federal criminal violations related to high technology or cybercrime, child

exploitation, and child pornography. I have been involved in the search for and

collection of evidence in multiple investigations. These investigations have

involved, among other techniques, the execution of search warrants for contraband

and evidence of crimes. I am familiar with, and have participated in, all of the

normal methods of investigation, including, but not limited to, visual surveillance,

the general questioning of witnesses, and the use of informants. I have also gained

experience through training and discussions with other law enforcement officers

who have experience conducting these types of investigations. I have had the

opportunity to observe and review multiple examples of child pornography (as

defined in 18 U.S.C. § 2256) in all forms of media including computer media.

      2.     Prior to becoming an FBI agent, I worked as a Trooper and Detective

with the Indiana State Police for approximately five and half years. In that

capacity, I investigated numerous investigations of sexual assault to include rape,

sexual misconduct, and child molesting.

      3.     Information provided: The statements in this affidavit are based on

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information obtained from my observations and communications, as well as

information learned from other law enforcement officers and witnesses, including

members of the Indiana State Police and the Bartholomew County Sheriff’s Office.

Because this affidavit is being submitted for the limited purpose of securing an

arrest warrant and criminal complaint, I have not included each and every fact

known to the investigators concerning this investigation. I have set forth only the

facts that I believe are necessary to establish probable cause that Jordan Fields

(FIELDS) committed criminal offenses.

      4.     Probable Cause: For the reasons listed below, there is probable cause

to believe that Jordan Fields, DOB xx-xx-2000 (known to Affiant, but redacted) has

committed the following offenses in the Southern District of Indiana and elsewhere:

             A.    Counts 1-3: Sexual Exploitation of a Child / Attempted

      Sexual Exploitation of a Child: On or between March 1, 2020 and on or

      about July 29, 2020, within the Southern District of Indiana, in the

      Indianapolis area, Jordan Fields sexually exploited Minor Victims 1, 2, and 3,

      children who were each less than 18 years of age, by using each minor or

      attempting to use each minor to create visual depictions of Minor Victims 1

      and 2 engaging in sexually explicit conduct, using materials that travelled in

      interstate or foreign commerce, in violation of 18 U.S.C. § 2251(a) and (e);

             B.    Count 4: Distribution / Receipt of Visual Depictions of

      Minors Engaged in Sexually Explicit Conduct: On or between March 1,

      2020 and November 13, 2020, within the Southern District of Indiana, in the



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     Indianapolis area, and elsewhere, Jordan Fields knowingly distributed visual

     depictions, using any means or facility of interstate or foreign commerce, by

     any means including by computer, where the producing of such visual

     depiction involves the use of a minor engaging in sexually explicit conduct;

     and such visual depiction is of such conduct, including at least one visual

     depiction of a child who the Defendant knew to be prepubescent or less than

     12 years of age, in violation of 18 U.S.C. § 2252(a)(2);

     5.    Statutory authority:

           A.     Sexual Exploitation of a Child and Attempt (18 U.S.C. §

     2251(a) and (e)): This statute provides that “Any person who employs, uses,

     persuades, induces, entices, or coerces any minor to engage in, or who has a

     minor assist any other person to engage in, or who transports any minor in or

     affecting interstate or foreign commerce, or in any Territory or Possession of

     the United States, with the intent that such minor engage in, any sexually

     explicit conduct for the purpose of producing any visual depiction of such

     conduct or for the purpose of transmitting a live visual depiction of such

     conduct, shall be punished as provided under subsection (e), if such person

     knows or has reason to know that such visual depiction will be transported or

     transmitted using any means or facility of interstate or foreign commerce or

     in or affecting interstate or foreign commerce or mailed, if that visual

     depiction was produced or transmitted using materials that have been

     mailed, shipped, or transported in or affecting interstate or foreign commerce



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     by any means, including by computer, or if such visual depiction has actually

     been transported or transmitted using any means or facility of interstate or

     foreign commerce or in or affecting interstate or foreign commerce or mailed.”

     It is also a crime to attempt to sexually exploit a child. 18 U.S.C. § 2251(e).

            B.    Distribution and Receipt of a Visual Depiction of a Minor

     Engaged in Sexually Explicit Conduct (18 U.S.C. § 2252(a)(2)): This

     investigation concerns alleged violations of 18 U.S.C. § 2252(a)(2), which

     prohibits a person from knowingly receiving and distributing any visual

     depiction using any means or facility of interstate or foreign commerce or

     that has been mailed, or has been shipped or transported in or affecting

     interstate or foreign commerce, or which contains materials which have been

     mailed or so shipped or transported, by any means including by computer, or

     knowingly reproducing any visual depiction for distribution using any means

     or facility of interstate or foreign commerce or in or affecting interstate or

     foreign commerce or through the mails, if the producing of such visual

     depiction involves the use of a minor engaging in sexually explicit conduct;

      and such visual depiction is of such conduct;

     6.     Definitions: The following definitions apply to this Affidavit:

            A.    The term “minor,” as defined in 18 U.S.C. § 2256(1), refers to

     any person under the age of eighteen years.

            B.    The term “sexually explicit conduct,” 18 U.S.C. § 2256(2)(A)(i-v),

     is defined as actual or simulated (a) sexual intercourse, including genital-



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      genital, oral-genital, anal-genital, or oral-anal, whether between persons of

      the same or opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or

      masochistic abuse; or (e) lascivious exhibition of the genitals or pubic areas of

      any person.

             C.     The term “visual depiction,” as defined in 18 U.S.C. § 2256(5),

      includes undeveloped film and videotape, data stored on computer disc or

      other electronic means which is capable of conversion into a visual image,

      and data which is capable of conversion into a visual image that has been

      transmitted by any means, whether or not stored in a permanent format.

      7.     Investigation of Jordan Fields: This investigation began in

November 2020, when the Los Angeles FBI contacted the Indianapolis FBI and

indicated they had received information that an adult who lived in Indiana was

soliciting nude images from a thirteen-year-old male (Minor Victim 1) who lived in

California. The report also indicated that Victim 1 had received a full-frontal nude

photograph and numerous messages from telephone number 812-390-xxxx

(redacted by known to Affiant).

             A.     The California case began when Minor Victim 1’s mother

      contacted the San Luis Obispo County District Attorney’s Office, believing

      that her son was being groomed online. She believed that the “relationship”

      started in a game “Fortnight” and progressed to text messaging. The case

      was passed on to the San Luis Obispo County Sheriff’s Department for

      investigation for identification of the other party involved in the online



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     conversation and investigation.

           B.     On September 30, 2020, DA Investigator JT Camp (Camp)

     contacted the victim’s mother regarding the investigation. Camp initially

     learned that the male subject, communicating with Minor Victim 1, was a

     male subject named “Jordan,” who had a phone number of 812-390-xxxx and

     a “Gamer tag” of “Vibingwrld” on Xbox Live.

           C.     On October 7, 2020, Investigator Camp in California took

     possession of Minor Victim 1’s Apple iPhone and a white Xbox Gaming

     Console. Minor Victim 1’s father gave permission to search the devices and

     provided the passcode to the iPhone. Camp researched the phone number

     812-390-xxxx, associated with the name “Jordan” and utilizing law

     enforcement databases, determined that the phone number was associated

     with the name “Jordan Fields.” Upon doing additional research, Camp

     learned that there was an individual named Jordan Fields who lived in

     Columbus, Indiana with a date of birth in May of 2000 (redacted but known

     to this Affiant). Camp searched Facebook for an account in the name of

     Jordan Fields and found an " open" Facebook account utilizing open source

     searching. Camp located that account which was in the name of " Jordan

     Fields" which lists the "Lives in" descriptor in the biographical section as

     being Columbus, Indiana. Camp also noted a couple of embedded images that

     depicted a “young male adult or older teenager.” On October 8, 2020, Camp

     contacted the Bartholomew County Sheriff' s Office Detective Division and



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     requested assistance in getting Jordan Fields identified.

           D.      Camp spoke with Detective Will Kinman (Det. Kinman) from

     the Bartholomew County Sheriff’s Office. Upon receiving this information,

     Det. Kinman ran a driver’s license check on Jordan Fields, and obtained his

     information and a BMV photograph. This information was sent to San Luis

     Obispo County Sheriff’s Office for reference and comparison. According to

     their report, the BMV photograph of Fields matched the photographs

     obtained from Minor Victim 1’s phone.

           E.      According to information received from the San Luis Obispo

     County Sheriff, police in California had reviewed messages from Minor

     Victim 1’s cell phone.

                  i.     The messages were sent to and received from the phone

           number traced to Jordan Fields (812-390-xxxx) and stored under the

           name “Jordan” in Minor Victim 1’s phone. In the messages, “Jordan”

           asked for a shirtless image of Minor Victim 1. In the messages,

           “Jordan” told Minor Victim 1 that “Jordan” would be “16 in may,” and

           then “Jordan” asked Minor Victim 1 “When will u be 14,” to which

           Minor Victim 1 replied “July 23.”

                 ii.     There are a number of messages sent back and forth in

           which Minor Victim 1 professes his feelings for “Jordan” and how

           Minor Victim 1 loves “Jordan.”

                iii.     Investigator Camp wrote the following: “On 9/24/2020,



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            there is a string of text messages that are sent by Jordan Fields that in

            context, appear to depict Jordan Fields badgering and continuously

            trying to persuade the victim to send him pictures. The victim sends a

            selfie style picture that depicts him shirtless with jeans on. In

            response, Jordan Fields texts " Can u at least jerk off”. Jordan

            Fields then texts " And send u in ur underwear”. This section of the

            text thread appears to be a direct request from Jordan Fields to the

            victim to " jerk off" or masturbate. Given the totality of the

            circumstances and context of the messaging, it appears Jordan Fields

            is requesting that the victim record himself masturbating and provide

            footage/image(s) of the victim masturbating to him (Jordan Fields),

            essentially requesting/soliciting the victim to send him child

            pornography.”

            F.         Based upon this information Det. Kinman sought and obtained

      a search warrant from Bartholomew County Superior Court for Fields’

      residence, 2190 West County Road 625 South, Columbus, Indiana 47201, and

      for the person of Jordan Fields, white male, date of birth 05/xx/2000

      (redacted). On November 13, 2020, law enforcement executed the search

      warrants.

                  i.        Fields answered the door and stepped outside the

            residence. Fields was informed a search warrant for the residence and

            his person had been issued. Fields had a cellular phone on his person,



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            and it was seized by law enforcement.

                 ii.     Fields was read his Advice of Rights by Your Affiant and

            subsequently agreed to speak to investigators. This interview was

            audio recorded. Fields provided his basic information and provided his

            cellular telephone number as (812) 390-xxxx. This number matched

            the number of “Jordan” retrieved from Minor Victim’s 1 cellular phone.

                iii.     Fields initially denied communicating with Minor Victim

            1 but subsequently acknowledged communicating and soliciting nude

            images from Minor Victim 1 when confronted with the messages

            obtained from the forensic examination of Minor Victim’s 1 cellular

            telephone. Fields acknowledged to sending full frontal nudity images

            of his erect penis to Minor Victim 1. Fields also admitted to asking

            Minor Victim 1 to send him shirtless images of himself and asking

            Minor Victim 1, “can you at least jerk off” and “do you want my d”.

            Fields stated he was asking Minor Victim 1 to send an image of his

            penis to him. Fields acknowledged he had received other nude

            photographs from Minor Victim 1 displaying the penis and butt of

            Minor Victim 1.

                iv.      Fields was asked if he had communicated or solicited any

            other images from anyone else and acknowledged to speaking with

            other minors and stated he had a preference for 11, 12, and 13-year-old

            males. Fields stated he had to go to Royal Oaks Behavioral Center in



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             Missouri when he was a juvenile because he had been caught looking

             up young kids on the Internet. Fields said that when he was 16 or 17

             years old, he engaged in sexually explicit conduct with a 12-year-old

             boy when he attended the LaSalle School in Albany, New York, and he

             provided police with the name of that boy.

                  v.      Fields denied any sexual contact with minors in

             Columbus, IN and after returning from the LaSalle School.

                   a.     Fields admitted to receiving child pornography through

             Snapchat and Omegle.

             G.    The cellular telephone taken from Fields at the beginning of the

       search warrant was examined by Your Affiant and Detective Kinman in the

       presence of Fields, pursuant to the search warrant. Numerous images of

       young males, some with their penises exposed, were found on the cellular

       telephone. One specific image was of a juvenile with his penis exposed, and

       Fields advised that image was of Minor Victim 1.

       8.    The following items were seized pursuant to the Search Warrant:

             A.    Samsung A102V cellular telephone located in Fields’ right front

       pocket.

             B.    Samsung cellular telephone, white, located in Fields’s bedroom.

             C.    Alcatel One Touch cellular telephone located in Fields’ bedroom.

             D.    Lenovo laptop computer located in Fields’ bedroom.

             E.    Sandisk USB drive, 32gb, green, located in Fields’ bedroom.



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              F.    ENKEI USB drive, blue/silver, located in Fields’ bedroom.

              G.    Youse USB drive, black/silver, located in Fields’ bedroom.

              H.    Xbox One S gaming device located in Fields’ bedroom.

              I.    Black tower style computer hard drive located in Fields’

       bedroom.

              J.    Xbox 360 gaming device located in Fields’ bedroom.

       9.     Fields was arrested for his conduct with Minor Victim 1 and was

 charged in Bartholomew County with Child Exploitation and Possession of Child

 Pornography. He was released on bond.

       10.    Forensic Examination of Fields’ Devices: Fields’ devices were

 submitted to the Indiana State Police for examination. On or about March 19, 2021,

 Sgt. Pat Deckard discovered evidence that Jordan Fields had engaged in sexually

 explicit conduct with at least 3 children and he immediately notified your Affiant of

 this additional information.

       11.    Examination of Cell Phone of Jordan Fields: Sgt. Pat Deckard of

 the Indiana State Police examined a Samsung SM_N975U, Item 26615, recovered

 during the execution of the search warrant. On this device, belonging to Jordan

 Fields, Sgt. Deckard found the following:

              A.    Count 1: Sexually Explicit Visual Depiction of Minor

       Victim 2: Video 20200728_131159.mp4 is a video that is 64 seconds in

       duration. The video depicts Jordan Fields engaged in sexually explicit

       conduct with a pre-pubescent male. The child and Fields are in a room with



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       a blanket or sheet on the wall that has two horses on it. Either the child or

       someone other than Fields is recording the video, but Fields looks into the

       camera more than once. The video shows Fields masturbating while

       performing oral sex on the child, who is laying on his back. This child is nude

       from the waist down but is wearing an orange shirt with a design on it. The

       child’s face is never shown in the recording. Fields did transport the

       recording into the Southern District of Indiana, where it was recovered on his

       cell phone at the time of the search warrant in November of 2020. Based on

       the naming convention of the video, Your Affiant believes the video was

       recorded on July 28, 2020.

             B.     Count 2: Sexually Explicit Visual Depiction of Minor

       Victim 3: Video 20200729_031852.mp4 is a video that is 1 minute and 23

       seconds in duration. The video is narrated by a minor male child who cannot

       be seen but whose voice is heard throughout the video. The child begins the

       video by saying “alright, here’s (name of Minor Victim 3) and here’s Jordan,

       and they’re going to have sex, and we use this: lotion.” The face of Minor

       Victim 3 is shown and the back of the head and back of “Jordan” are shown.

       “Jordan” is completely naked, as is Minor Victim 3. Both the child-narrator

       and Jordan instruct Minor Victim 3 how to rub lotion on his own penis and

       then the child narrator directs Minor Victim 3 how to insert his penis into the

       anus of “Jordan.” The recording captures this conduct as the child-narrator

       then directs Minor Victim 3, after Minor Victim 3 has inserted his penis into



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       “Jordan’s” anus, “then you move back and forth.” The child narrator

       repeatedly asks, “don’t it feel good, though?” At the 54-55 second mark, part

       of the face of “Jordan” can be seen. Someone says, “get the action down

       there,” and the child narrator then positions the camera to record between

       the legs of Minor Victim 3 and “Jordan” as the child laughs and tells Minor

       Victim 3, “go faster.” The child-narrator says “Jordan” as the male receiving

       anal sex is masturbating his own penis. Your Affiant believes that the person

       called “Jordan” in the video is Jordan Fields based on the portions of the

       video in which “Jordan’s” face is visible and the fact that the child narrator is

       calling him “Jordan.” Fields did transport the recording into the Southern

       District of Indiana, where it was recovered on his cell phone at the time of the

       search warrant in November of 2020. Based on the naming convention of the

       video, Your Affiant believes the video was recorded on July 29, 2020.

             C.     Count 4 - Distribution and Receipt of Child Pornography:

       Fields cell phone also showed that Fields received and possessed a large

       amount of child pornography. His collection included visual depictions of

       minors less than 12 years old engaged in sexually explicit conduct with

       adults. His phone showed evidence that he viewed sexually explicit images of

       infants and toddlers, including infants who were bound. There was evidence

       that he viewed at least one image of a child engaged in bestiality. Fields

       distributed and received child pornography using the application Telegram.

       12.   Examination of Item 26620 Generic Flash Drive 8GB:               Sgt.



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 Deckard also examined an 8GB flash drive seized in the search warrant execution

 from Fields’ residence.

              A.    The flash drive contains a series of images depicting Jordan

       Fields with at least 2 prepubescent boys. One of the boys, Minor Victim 4, is

       an 8-year-old male child who has been identified by Det. Kinman as a

       resident of the Southern District of Indiana. The sexually explicit images

       and video of Minor Victim 4 were in a folder on the flash drive called “new

       hire disc/boys cute”. The dates on the photos show they were taken on March

       16, 2020.

              B.    Count 3: Sexually Explicit Visual Depiction of Minor

       Victim 4: A video and 2 images depicting the lascivious display of the

       genital and pubic area of a child known as Minor Victim 4 were also found on

       this flash drive belonging to Jordan Fields. In the images, Minor Victim 4

       appears to be standing on the shoulders of Jordan Fields, while Fields takes

       pictures and video by placing a cell phone between the legs of Minor Victim 4

       and recording so that the camera captures the Minor Victim 4’s genitals and

       pubic area beneath his boxer shorts. In other photos that are in this series,

       Minor Victim 4 is sitting and standing on a couch with Jordan Fields and the

       two appear to be playing around, posing for the cell phone camera that Fields

       is holding. Metadata contained in the images shows that the images were

       created with a cell phone belonging to Jordan Fields. Fields transported these

       images into the Southern District of Indiana, where they were recovered in



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           November of 2020.

           13.   Interstate and Foreign Commerce: Fields used the Internet to

 distribute and receive the images of child pornography. The Internet is a means and

 facility of interstate and foreign commerce. The visual depictions of Minor Victims

 1, 2 and 3 were produced and stored using devices that were not manufactured or

 contain parts that were not manufactured in the State of Indiana, and, therefore,

 travelled in interstate and foreign commerce.

           14.   Venue: Fields is a resident of the Southern District of Indiana, and

 this Affiant believes that Fields exploited Minor Victims 1, 2, and 3 and also

 distributed and received sexually explicit visual depictions within the Southern

 District of Indiana and elsewhere.

           15.   REQUEST FOR SEALING: Because this Affidavit contains

 information which could be used to identify the minor victims, because this

 investigation is on-going and because the Defendant is currently at large, this

 Affiant requests that this Affidavit, the Complaint, and the Arrest Warrant be

 sealed and remain sealed, absent a good cause showing as to why the seal should be

 lifted.




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       16.    Conclusion Based upon the contents of this Affidavit, there is

 probable cause to believe that Jordan Fields has committed the above listed

 offenses. I respectfully request that the Court issue a Criminal Complaint and

 Arrest Warrant for Jordan Fields charging him with the offenses listed above.


                                       s/Todd D. Prewitt
                                       Special Agent Todd D. Prewitt
                                       Federal Bureau of Investigation


 Attested to by the applicant in accordance with the requirements

 of Fed. Crim. P. 4.1 by telephone.



        Date: 3/24/2021




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